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10                                   UNITED STATES DISTRICT COURT
11                                          DISTRICT OF NEVADA
12   CHRISTINA McCALEB,                             )
                                                    )   Case No.: 2:21-cv-01348-EJY
13                  Plaintiff,                      )
                                                    )   UNOPPOSED MOTION FOR A FIRST
14          vs.                                     )   EXTENSION OF TIME TO FILE CERTIFIED
                                                    )   ADMINISTRATIVE RECORD AND ANSWER
15   KILOLO KIJAKAZI,                               )
     Acting Commissioner of Social Security,        )   (FIRST REQUEST)
16                                                  )
                    Defendant.1                     )
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25    Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule
     25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore, for
26   Andrew Saul as the defendant in this suit. No further action need be taken to continue this suit by reason
     of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1           Defendant, Kilolo Kijakazi, Acting Commissioner of Social Security (the “Commissioner”), by
 2   and through his undersigned attorneys, hereby moves for a first sixty-day extension of time to file the
 3   Certified Administrative Record (CAR) and answer to Plaintiff’s Complaint. The CAR and answer to
 4   Plaintiff’s Complaint are due to be filed by December 6, 2021.
 5           Defendant makes this request in good faith and with no intention to delay proceedings
 6   unnecessarily. Preparation of the transcript in this case will require transcription of an administrative law
 7   judge and certification of the record by the Social Security Administration’s Office of Appellate
 8   Operations, which has reduced its backlog of transcription and certification requests significantly, but
 9   does not anticipate having the record for this case prepared by December 6, 2021. Defendant requests an
10   extension in which to respond to the Complaint until February 4, 2022. If Defendant is unable to produce
11   the certified administrative record necessary to file an Answer in accordance with this Order, Defendant
12   shall request an additional extension prior to the due date. If the record is ready before that time,
13   Defendant will file it and the answer as soon as possible.
14           On December 2, 2021, the undersigned conferred with Plaintiff’s counsel, who has no opposition
15   to the requested extension. It is therefore respectfully requested that Defendant be granted an extension of
16   time to file the CAR and answer to Plaintiff’s Complaint, through and including February 4, 2022.
17           Dated: December 2, 2021                       Respectfully submitted,
18                                                         CHRISTOPHER CHIOU
                                                           Acting United States Attorney
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                                                           /s/ Daniel P. Talbert
20                                                         DANIEL P. TALBERT
                                                           Special Assistant United States Attorney
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                                                           IT IS SO ORDERED:
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24                                                         HON. ELAYNA J. YOUCHAH
                                                           UNITED STATES MAGISTRATE JUDGE
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26                                                         DATED: December 2, 2021



     Unopposed Mot. for Ext.; No. 2:21-cv-01348-EJY
